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                              EXHIBIT %
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    From:            De Boer, Jamie (CRM)
    To:              Steve Sadow; Rafferty, Brian T.; Robyn Sztyndor; McEvoy, Brian F.
    Cc:              Cuyler Jr., Reginald (CRM); Rookard, Katherine (CRM); Puntillo, Avaleah (CRM)
    Subject:         US v. Patel: Letter
    Date:            Wednesday, August 10, 2022 2:15:21 PM
    Attachments:     2022.08.10 - Letter from DOJ to Patel Counsel.pdf


    Counsel,

    I hope you are enjoying your summers. I have joined the trial team for the government in the Patel
    matter and I look forward to seeing/meeting you all as this case moves closer to trial.

    In the meantime, please see attached correspondence. We are happy to discuss.

    Regards,
    Jamie

    Jamie de Boer
    Trial Attorney
    U.S. Department of Justice
    Criminal Division, Fraud Section
    1400 New York Avenue NW
    Washington, DC 20005
    Cell: (202) 304-6801
    Office: (202) 616-3842
    Jamie.deBoer@usdoj.gov
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                                                          U.S. Department of Justice
                                                          Criminal Division
                                                          Fraud Section
                                                          1400 New York Avenue NW
                                                          Washington, DC 20005




   VIA EMAIL                                                              August 10, 2022

   All Counsel of Record

          Re: United States v. Minal Patel, 19-cr-80181-RAR (S.D. Fla.)

   Dear Counsel:

           The United States requests that Defendant Minal Patel produce all documents and
   communications pertaining to an advice-of-counsel defense in the above-captioned matter. This
   request includes the documents described below. Please produce all responsive records by August
   25, 2022. See United States v. Ramamurthy, 18-cr-20710-ALTONAGA/GOODMAN [D.E. 276]
   (S.D. Fla. Nov. 27, 2019) (requiring defendant asserting an advice-of-counsel defense to identify
   any attorneys that provided the advice underlying the defense, and to waive privilege over and
   produce all communications concerning the same in advance of trial); United States v. Shapiro,
   19-cr-20178-CMA [D.E. 108] (S.D. Fla. July 8, 2019) (same); see Inmuno Vital v. Telemundo, 203
   F.R.D. 561, 564 (S.D. Fla. 2001) (“when the advice of counsel defense is raised, the party raising
   the defense must permit discovery of any and all legal advice rendered on the disputed issue”); see
   also Vicinanzo v. Brunschwig & Fils, Inc., 739 F. Supp. 891, 894 (S.D.N.Y. 1990) (“A party who
   intends to rely at trial on the advice of counsel must make a full disclosure during discovery; failure
   to do so constitutes a waiver of the advice of counsel defense.”).

   Definitions:

      1. “Communications” mean any written, transcribed, or otherwise memorialized
         conversation, including emails, letters, instant messages (regardless of platform), and text
         messages (regardless of platform, and including iMessage), as well as any memorialization
         of an oral or phone conversation, including rough notes or memoranda.

      2. The “Company” refers to LabSolutions, LLC, its representatives, predecessors, successors,
         and assigns, and any of its owners, operators, employees, contractors, or agents, whether
         current or former.

      3. The “Defendant” means Minal Patel, his representatives, agents, and other persons and
         entities working on his behalf and shall include any alias, nickname, or other name by
         which Defendant may have been known at any time.



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      4. “Documents” mean anything written, transcribed, or otherwise memorialized, including
         drafts thereof, such as memoranda, reports, summaries, legal opinions, legal research,
         written materials provided by Defendant or the Company, or other written materials.

      5. “Attorney” means any attorney or law firm that represented Defendant or the Company
         prior to September 1, 2019, regarding the subject matter of the allegations in the Indictment
         in the above-captioned matter, including compliance with any anti-kickback statutes,
         compliance with the Eliminating Kickbacks in Recovery Act, compliance with laws,
         statutes, and regulations relating to billing Medicare for cancer genomic testing, and money
         laundering. “Attorney” includes an attorney’s or firm’s representatives, predecessors,
         successors, and assigns, and any of a law firm’s attorneys, owners, employees, contractors,
         or agents, whether current or former. “Attorney” also includes any attorney or law firm
         that Defendant or the Company contacted regarding potential engagement, even if a formal
         attorney-client relationship was never formed.


   Instructions:

      1. The requests are intended to cover all Documents and Communications in Defendant’s
         possession, or subject to his custody and control, whether directly or indirectly. This
         includes Documents and Communications that Defendant does not physically possess, but
         that are in the possession of Defendant’s agents, including Documents and
         Communications in the physical possession of any Attorneys but under the control of
         Defendant or the Company. See Searock v. Stripling, 736 F.2d 650, 653 (11th Cir. 1984)
         (“Control is defined not only as possession, but as the legal right to obtain the documents
         requested upon demand.”); see also In re Various Grand Jury Subpoenas, 235 F. Supp. 3d
         472 (S.D.N.Y. 2017), modified, No. 12 MISC. 381, 2017 WL 564676 (S.D.N.Y. Feb. 13,
         2017) (applying the legal-right test for “control” to a grand jury subpoena).

      2. Please provide responsive information in electronic format, preferably in Tagged Image
         File Format (load-ready) or native format.
   Requests:

   Produce all Documents and Communications pertaining to legal advice sought or received from
   any Attorney before September 1, 2019, including:

      1. All Communications between any Attorney and Defendant or the Company.

      2. Any Documents provided by any Attorney or the Company to the Firm.

      3. Any Documents provided by any Attorney to Defendant or the Company.

      4. Any engagement letter or contract between any Attorney and Defendant or the Company.




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       5. Records of any bills or invoices, including timesheets, between any Attorney and
          Defendant or the Company.

       6. Records of any payments between Defendant or the Company and any Attorney.


             Please contact Jamie de Boer at (202) 304-6801 if you have any questions regarding this
   letter.

                                                 Sincerely,

                                                 /s/ Jamie de Boer
                                                 Jamie de Boer
                                                 Reginald Cuyler, Jr.
                                                 Katherine Rookard
                                                 Trial Attorneys
                                                 Fraud Section, Criminal Division
                                                 U.S. Department of Justice
                                                 Jamie.deBoer@usdoj.gov




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